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United States District Court

for
Western District of Tennessee

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U.S.A. vs. Wesley Davis Docket No. 04-20435-01
Petition for Action on Conditiuns of Pretrial Release
COMES NOW PRETRIAL SERVICES OFFICER Stephanie K. Denton presenting an official report upon the
conduct of Defendant Davis Who was placed under pretrial release supervision by the Honorable Tu M. Pham sitting
in the court at l\/Iemphis, on the ls‘ day of Novernber, 2004, under the following conditions:
l) Report as directed to Pretrial Services, 2) Travel restricted to the WD/TN, 3) Refrain from possessing a firearm,
destructive device, or other dangerous weapons, 4) Refrain from any use or unlawful possession of a narcotic drug
or other controlled substances, 5) Subn'u`t to any method of drug testing required by Pretrial Services, 6) Participate
in a program of drug treatment if deemed advisable by Pretrial Services, and 8) The defendant is to report on a daily
basis to Detective Tony Parks and/or Detective Pike.
RESPECTFULLY PRESEN'I`ING l"l:`TITION FOR ACTEON OF COURT AND FOR CAUSE AS FULLOWS:
Please See attached page.
ORDER OF COURT l declare under penalty of perjury that the
foregoing is true and correct.
Considered and ordered this l z
day Of 3 Ol,.. z g 20 0 and Ordered Executed on June 6, 2005
files and made a part of the records in the above j
case. § ' 7
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j/` U.S. Prctria| Services Ot`t"icer
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U.S. Magistrate lodge Place Memphis, TN
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A violation report was submitted to Your Honor on December 14, 2005. fn addition, a petition was completed on
February IO, 2005 regarding the defendant’s continued drug use and failure to submit drug screens as directed Since
the defendant’s release on February 10, 2005, Defendant Davis has not complied with the following condition of pretrial
release:

The defendant shall not commit any offense in violation of federal, state, or local law while on release in this case.

On May 31, 2005, the defendant was charged with the following offenses in Memphis, TN: l) Possession of Cocaine
with lntent to Manufacture/Sell/Deliver, 2) Possession of Marijuana with Intent to Manufacture/Deliver/Sell, 3) thru 6)
Possession of Con|:rolled Substance with lntent to Manufacture/Deliver/Sell, and 7) Possession of Drug Paraphernalia.

According to the Shelby County Affidavit of Complaint, officers received information that a male known as “Pooh” was
storing and selling cocaine and marijuana from the address of3430 Woodhollow and 343 8 Woodhollow, Memphis, TN.
Two digital scales, 63.8 grams of crack cocaine, 31 grams of powder cocaine, 145.4 grams of marijuana, 37 Dilaudid
pills, 56 Ecstacy pills, 28 Xanex pills, 9.5 grams of crushed Xanex, 119 Hydrocodone pills, and 9 Amitriptyline pills
were located in the northeast bedroom closet of 3430 Woodhollow, Memphis, TN. One digital scale and 338.5 grams
of marijuana were also allegedly found inside the kitchen cabinet Defendant Davis advised officers that some people
called him “Pooh”.

The affidavit further States that the residence located at 3438 Woodhollow in Memphis was also searched by officers
One glass cooking tube and 2.8 grams of marijuana were found at this residence

Bond is set at 51,000,000 and his next report date is set for June 9, 2005.

PRAYING THAT THE COURT WILL ORDER lSSUANCE OF A WARRANT CHARGING THE DEFENDANT
WITH VIOLATING THE CONDITIONS OF PR_ETR_IAL RELEASE.

BOND RECOMMENDATION: NONE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20435 was distributed by faX, mail, or direct printing on
.lune 13, 2005 to the parties listed.

 

 

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

